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                                                         United States District Court                                          JS-3
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 19-759-RGK-DMG

 Defendant            EVETTE MARIE LAKKEES                                   Social Security No. 2          3     9     7

 akas: None.                                                                 (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.       SEPT    20     2021


 COUNSEL                                                                 Claire Simonich, DFPD
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                                CONTENDERE           GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Possession of Fifteen or More Unauthorized Devices in violation of Title 18 U.S.C. § 1029(a)(3) as charged in Count 1 of the
          Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on
  ORDER   PROBATION for a term of: THREE (3) YEARS.

         It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.

         It is ordered that the defendant shall pay restitution in the total amount of $3,014.61 pursuant to 18 U.S.C. § 3663A.

         The amount of restitution ordered shall be paid to the victims identified in the Court’s January 4, 2021 Order re Payment of Restitution
[Doc. # 77], which is incorporated herein by this reference.

         Nominal monthly payments of at least 10% of defendant’s gross monthly income, but not less than $75, whichever is greater, shall be
made during the period of probation. These payments shall begin 30 days after the entry of judgment. Nominal restitution payments are ordered
as the Court finds that the defendant’s economic circumstances do not allow for immediate payment of the amount ordered.

        If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another priority order or
percentage payment is specified in the judgment.

         Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to
pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

          The defendant shall be held jointly and severally liable with co-defendant, Jason Andrew Schoen (Case No. CR-19-759-001-RGK), for
the amount of restitution ordered in this judgment. The victims' recovery is limited to the amount of their loss and the defendant's liability for
restitution ceases if and when the victims receive full restitution.

         The defendant shall comply with Amended General Order No. 20-04.

         Pursuant to Guideline Section 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to
pay and is not likely to become able to pay any fine in addition to restitution.

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on PROBATION
on Count 1 of the Indictment for a term of THREE (3) YEARS under the following terms and conditions:

        1.   The defendant shall comply with the rules and regulations of the United States Probation and Pretrial Services Office and Amended

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             General Order 20-04.

        2.   The defendant shall not commit any violation of federal, state, or local law or ordinance.

        3.   During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with this
             judgment’s orders pertaining to such payment.

        4.   The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
             days of entry of judgment and at least two periodic drug tests thereafter, not to exceed four tests per month, as directed by the
             Probation Officer.

        5.   The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis, breath,
             and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using illicit drugs and alcohol, and
             abusing prescription medications during the period of supervision.

        6.   During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel, may place the
             defendant in a residential drug treatment program approved by the United States Probation Office for the treatment of narcotic
             addiction or drug dependency, which may include counseling and testing, to determine if the defendant has reverted to the use of
             drugs, and the defendant shall reside in the treatment program until discharged by the Program Director and Probation Officer.

        7.   The defendant shall participate in mental health treatment, which may include evaluation and counseling, until discharged from the
             treatment by the treatment provider, with the approval of the Probation Officer.

        8.   As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant’s mental health condition
             and/or drug dependency to the aftercare contractor during the period of community supervision, pursuant to 18 U.S.C. § 3672. The
             defendant shall provide payment and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay,
             no payment shall be required.

        9.   The defendant shall not obtain or possess any driver’s license, social security number, birth certificate, passport, or any other form
             of identification in any name, other than the defendant’s true legal name; nor shall the defendant use, for any purpose or in any
             manner, any name other than her true legal name without the prior written approval of the probation officer.

        10. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments, and any anticipated
            or unexpected financial gains to the outstanding court-ordered financial obligation.

        11. The defendant shall submit her person, property, house, residence, vehicle, papers, cell phones, other electronic communications or
            data storage devices or media, email accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s
            control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a search may be
            grounds for revocation. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
            condition. Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable manner upon reasonable
            suspicion that the defendant has violated a condition of her supervision and that the areas to be searched contain evidence of this
            violation.

        12. The defendant shall cooperate in the collection of a DNA sample from the defendant.

         The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse treatment provider
to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by the treatment
provider is prohibited without the consent of the sentencing judge.

         The Court dismisses all remaining counts of the underlying indictment as to this defendant.

         The bond is exonerated as to this defendant.

         The Court informs the defendant of her right to appeal.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            September 29, 2021
            Date                                                           Dolly M. Gee, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                           Clerk, U.S. District Court




            September 29, 2021                                      By     /s/ Kane Tien
            Filed Date                                                     Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                    to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                    criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable                  defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before              vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                     the most effective manner.
       change;




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   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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